     Case 3:22-cv-01224-E Document 3 Filed 06/03/22                        Page 1 of 2 PageID 19



                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                Dallas Division


JONATHAN AVERY, on behalf of himself and all others similarly situated
Plaintiff
                                                               3:22-cv-01224
v.
                                      Civil Action No.
NATIONAL CONGRESS OFEMPLOYERS, INC. AND BENEFYTT TECHNOLOGIES, INC
Defendant


                         CERTIFICATE OF INTERESTED PERSONS
                               (This form also satisfies Fed. R. Civ. P. 7.1)

Pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(c), LR 3.2(e), LR 7.4, LR 81.1(a)(4)(D), and LR 81.2,


                                              PLAINTIFF


provides the following information:
       For a nongovernmental corporate party, the name(s) of its parent corporation and any
publicly held corporation that owns 10% or more of its stock (if none, state "None"):
*Please separate names with a comma. Only text visible within box will print.



None.



       A complete list of all persons, associations of persons, firms, partnerships, corporations,
guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
financially interested in the outcome of the case:
*Please separate names with a comma. Only text visible within box will print.


Plaintiff,                   JONATHAN AVERY
Plaintiff's counsel,         Jacob U. Ginsburg, Esquire
Defendant                    NATIONAL CONGRESS OF EMPLOYERS, INC
Defendant                    BENEFYTT TECHNOLOGIES, INC
                 Case 3:22-cv-01224-E Document 3 Filed 06/03/22                       Page 2 of 2 PageID 20



                                                              Date:                Jun 3, 2022
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Documents/Certificate of Interested Persons
